                                                                         Case 2:23-bk-10990-SK               Doc 684 Filed 02/29/24 Entered 02/29/24 07:45:32                Desc
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                                                                                                                                                   CLERK U.S. BANKRUPTCY COURT

                                                                         6    Counsel to Bradley D. Sharp, Chapter 11 Trustee                      Central District of California
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                                                                                                              UNITED STATES BANKRUPTCY COURT
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                                                                                                              CENTRAL DISTRICT OF CALIFORNIA
                                                                         9
                                                                                                                     LOS ANGELES DIVISION
                                                                        10
                                                                              In re:                                        Case No.: 2:23-bk-10990-SK
                                                                        11
                                                                              LESLIE KLEIN,                                 Chapter 11
P ACHULSKI S TAN G Z IE HL & J O NES LLP




                                                                        12
                                                                                                                 Debtor.
                                           LOS ANGELES, C ALIFO R NIA




                                                                        13                                                  ORDER DENYING AMENDED MOTION TO
                                              ATTOR NE YS A T L AW




                                                                                                                            CONVERT CHAPTER 11 CASE TO
                                                                        14                                                  CHAPTER 7

                                                                        15                                                  [Relates to Dockets Nos. 596, 608, 656, 658, 659,
                                                                                                                            660, 662, 667, 669, and 670]
                                                                        16
                                                                        17                                                  DATE: February 28, 2024
                                                                                                                            TIME: 9:00 a.m.
                                                                        18                                                  PLACE: 255 East Temple Street
                                                                                                                                   Los Angeles, California
                                                                        19                                                  CTRM: 1575

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                                                                        21
                                                                        22             A hearing was held on February 28, 2024, at 9:00 a.m. in Courtroom 1575, 255 East Temple

                                                                        23   Street, Los Angeles, California 90012 before the Honorable Sandra R. Klein for the Court to

                                                                        24   consider and act upon the “Amended Motion to Convert This Chapter 11 Case to Chapter 7” (the

                                                                        25   “Amended Motion”) [Docket No. 608], filed by the debtor, Leslie Klein (the “Debtor”). On January

                                                                        26   22, 2024, the Debtor initially filed a “Motion to Convert . . . ” and the clerk’s office issued a notice

                                                                        27   to filer regarding an incorrect hearing date/time and required filing fee [Docket No. 596]. The

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                                                                         Case 2:23-bk-10990-SK               Doc 684 Filed 02/29/24 Entered 02/29/24 07:45:32             Desc
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                                                                         1   Debtor then filed the Amended Motion on January 25, 2024 [Docket No. 608]. Appearances were as

                                                                         2   noted on the record.

                                                                         3            Based upon the record, the objections and declarations to the Amended Motion filed by

                                                                         4   Bradley D. Sharp, the chapter 11 trustee [Docket Nos. 656, 658, 659, and 660] and response filed by

                                                                         5   Franklin H. Menlo, Co-Trustee of the Franklin Henry Irrevocable Trust Established March 1, 1983,

                                                                         6   [Docket No. 662] (together, the “Objections”), the reply to the Objections filed by the Debtor

                                                                         7   [Docket No. 667], the Court’s overruling of the evidentiary objections filed by the Debtor [Docket

                                                                         8   Nos. 669 and 670], the arguments of counsel at the hearing, the findings made by the Court on the

                                                                         9   record of the hearing, and good cause appearing therefor,

                                                                        10            IT IS HEREBY ORDERED:

                                                                        11            1.        The Amended Motion is DENIED.
P ACHULSKI S TAN G Z IE HL & J O NES LLP




                                                                        12            2.        The Bankruptcy Court shall retain exclusive jurisdiction to resolve any dispute arising
                                           LOS ANGELES, C ALIFO R NIA




                                                                        13   from or relating to this Order.
                                              ATTOR NE YS A T L AW




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                                                                               Date: February 29, 2024
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